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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION

 UNITED STATES OF AMERICA                       §
                                                §
 v.                                             §         No. 4:19CR175
                                                §         Judge Mazzant
 CHRISTOPHER SCHRAEDER                          §

                       PRELIMINARY ORDER OF FORFEITURE

          Defendant entered a guilty plea to the Information filed on July 18, 2019.

Pursuant to 18 U.S.C. § 981(a)(1)(c) and 28 U.S.C. § 2461, the government requests that

Defendant’s right, title, and interest to the following property be forfeited to the United

States:

                 a. $3,987.00 in gambling proceeds previously seized;

                 b. $8,643.00 in gambling proceeds previously seized; and

                 c. $68,423.00.00 in gambling proceeds previously seized.

          By virtue of the plea and admission, the United States is now entitled to

possession of the above-referenced property pursuant to 21 U.S.C. § 853 and Fed. R.

Crim. P. 32.2.

          Accordingly, the Court orders that:

          1.     Based upon Defendant’s change of plea hearing and the findings entered by

the Court, the United States is hereby authorized to seize the aforementioned property.

The property is forfeited to the United States for disposition in accordance with the law,

subject to the provisions of Rule G(4)(a)(i) of the Supplemental Rules for Admiralty or

Maritime and Asset Forfeiture Claims.
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           2.       The forfeited property is to be held by the custodial agency and its agents

and vendors in their custody and control.

           3.       Pursuant to 21 U.S.C. § 853(n)(1), Supplemental Rule G(4)(a)(vi)(C), and

the Attorney General’s authority to determine the manner of publication of an order of

forfeiture in a criminal case, the United States shall publish for at least thirty (30)

consecutive days at www.forfeiture.gov notice of this Preliminary Order of Forfeiture,

notice of the United States’ intent to dispose of the property in such manner as the

Attorney General may direct, and notice that any person, other than Defendant, 1 having

or claiming a legal interest in the above-described forfeited property must file a petition

with the court no later than sixty (60) days after the first day of publication on an official

Internet government forfeiture site, or within thirty (30) days of receipt of direct notice,

whichever is earlier.

                    a.        The notice shall: (1) state that the petition shall be for a hearing to

adjudicate the validity of the petitioner’s alleged interest in the property; (2) be signed by

the petitioner under penalty of perjury, and (3) set forth the nature and extent of the

petitioner’s right, title, or interest in the forfeited property, the time and circumstances of

the petitioner’s acquisition of the right, title, or interest in the property, any additional

facts supporting the petitioner’s claim, and the relief sought.



1
    21 U.S.C. § 853(n)(2) provides that:
           Any person, other than the defendant, asserting a legal interest in property which has been ordered forfeited
           to the United States pursuant to this section may, within thirty days of the final publication of notice or his
           receipt of notice under paragraph (1), whichever is earlier, petition the court for a hearing to adjudicate the
           validity of his alleged interest in the property. The hearing shall be held before the court alone, without a
           jury.
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.                   b.       The United States may also, to the extent practicable, provide direct

    written notice to any person known to have alleged an interest in the property that is the

    subject of the order of forfeiture as a substitute for published notice as to those persons so

    notified.
                SIGNED this 16th day of August, 2019.

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                                                   ____________________________________
                                                   KIMBERLY C. PRIEST JOHNSON
                                                   UNITED STATES MAGISTRATE JUDGE
